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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            Case No. 09-20215

               Plaintiff,                            HONORABLE SEAN F. COX
                                                     United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

       OPINION & ORDER GRANTING THE GOVERNMENT’S MOTION IN LIMINE
         TO EXCLUDE DEFENDANT’S PROPOSED EXHIBIT FFFF [Doc. No. 264]

       Dr. Jose Castro-Ramirez is charged with one count of conspiracy to commit health care

fraud, eleven counts of health care fraud, and one count of conspiracy to commit money

laundering. [See Doc. No. 4]. Jury trial began on February 16, 2010. The case is before the Court

on the Government’s “Motion In Limine To Exclude Defendant’s Proposed Exhibit FFFF” [Doc.

No. 264], a laptop computer belonging to Dr. Castro-Ramirez, which was seized by the

Government during the execution of a search warrant. On March 8, 2010, Defense Counsel filed

a brief in opposition [Doc. No. 267]. For the reasons that follow, the Court GRANTS the

Government’s motion [Doc. No. 264].

                                        BACKGROUND

       On June 24, 2009, the grand jury returned an indictment charging Dr. Castro-Ramirez

with one count of conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349,

eleven counts of health care fraud, in violation of 18 U.S.C. § 1347, and one count of conspiracy

to commit money laundering, in violation of 18 U.S.C. § 1956(h). [See June 24, 2009 Indictment,


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Doc. No. 4]. Dr. Castro-Ramirez allegedly signed medical documentation ordering physical

and/or occupational therapy services which were medically unnecessary and not provided to

patients, submitted reimbursement claims to the Medicare program for those referrals, and

fabricated medical and billing documents in support of those referrals. Id. at ¶¶37-39.

       On January 14, 2010, the Court met with counsel, and with their agreement, the Court

issued its “Order Regarding Trial” [Doc. No. 207], requiring that exhibit lists be exchanged by

February 10, 2010, pursuant to Federal Rule of Criminal Procedure 16(b).

       On February 10, 2010, Defense Counsel submitted “Defendant’s Proposed Exhibit List”

[Doc. No. 216], indicating, as potential exhibits, several checks, a bank deposit ticket,

photographs, and a Christmas card. That Proposed Exhibit List also included sixty-eight boxes

seized from Dr. Castro-Ramirez by the Government during the execution of a search warrant.

Though Dr. Castro-Ramirez now argues that the laptop was in one of these sixty-eight boxes, the

Proposed Exhibit List did not specifically identify the laptop computer as evidence that Defendant

intended to admit as evidence at trial.

       On March 3, 2010, Defense Counsel submitted “Defendant’s First Amended Proposed

Exhibit List” [Doc. No. 257], which, again, did not specify the laptop as a potential exhibit.

       On March 4, 2010, during cross-examination of Agent Jeffrey Jamrosz, the Government’s

final witness, Defense Counsel, for the first time, sought to introduce the laptop into evidence as

proposed exhibit FFFF. The Government filed the instant motion [Doc. No. 264] that same day.


                                            ANALYSIS

       The Government seeks an order from the Court precluding the introduction of Dr. Castro-

Ramirez’ laptop. For the reasons that follow, the Court GRANTS the Government’s motion

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[Doc. No. 264], and precludes the introduction of Dr. Castro-Ramirez’ laptop as evidence at trial.

       Defense Counsel argues that the Sixth Amendment provides a criminal defendant with the

right to present witnesses and evidence in his defense, and “only egregious violations involving,

for example, ‘willful misconduct’ on the part of the defendant or his counsel will justify the

exclusion of material evidence.” Ferensic v. Birkett, 501 F.3d 469, 476 (6th Cir. 2007).

       The Government argues that under the Supreme Court’s test in Taylor v. Illinois, 484 U.S.

400, 414-15 (1988), a trial judge must weigh the defendant’s right to compulsory process against

countervailing public interests: (1) the integrity of the adversary process; (2) the interests in the

fair and efficient administration of justice; and (3) the potential prejudice to the truth-determining

function of the trial process. Id.

       The Government argues that the instant cases is similar to United States v. Hamilton, 128

F.3d 996, 1001 (6th Cir. 1997). There, a criminal defendant proposed to introduce twenty-three

cash receipts as exhibits on the sixth day of trial, id. at 998, without previously giving an exhibit

list to the Government. The Government objected to the introduction of the receipts, as the

defendant had failed to comply with the court’s discovery order. Id. at 999. The district court

sustained the Government’s objection, and ordered that the exhibits could not be introduced. Id.



       Here, as in Hamilton, Defense Counsel made an “eleventh hour,” id. at 1002, attempt to

introduce an exhibit – here, Dr. Castro-Ramirez’ laptop computer. Dr. Castro-Ramirez, as owner

of the laptop, was in the best position to know what information was on the laptop. If Defense

Counsel (who has been tirelessly and aggressively representing Defendant’s interests) believed

the laptop truly contained relevant and/or exculpatory information, he would have requested the


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laptop earlier and he could have included it in either his February 10, 2010 or March 3, 2010

proposed exhibit lists. Instead, Defense Counsel only sought to introduce the laptop as evidence

during his cross-examination of the Government’s final witness.

       The Defendant’s last-minute attempt to enter the laptop into evidence does not provide the

Government with sufficient notice to ensure that the laptop has not been altered. Defendant and

his counsel have had possession of the laptop since February 25, 2010, and have turned it on. The

only way for the Government to verify that the laptop is in the same condition as when it was

initially seized, would be for the Government to conduct a forensic analysis comparing the laptop

to a mirrored copy of the hard drive. This would take a significant amount of time and resources

and cause a substantial delay to the trial process.

       On these facts, the Court holds that admission of the laptop would undermine the integrity

of the adversary process; would undermine the fair and efficient administration of justice; and

would pose a potential prejudice to the truth-determining function of the trial process. Taylor,

484 U.S. at 414-15 (1988).

       Further, Defendant has failed to present the Court with any authority which would permit

admission of an entire laptop, as opposed to its contents, into evidence. This Court has conducted

an independent search and has not found any authority supporting the admission of an entire

computer. The laptop contains information which is not relevant to this trial and which is

inadmissable under Federal Rule of Evidence 401.

       The laptop, in its entirety, is of limited probative value, which is substantially outweighed

by the danger that it will prejudice, confuse, or mislead the jury. Consequently, the laptop is

inadmissable under Federal Rule of Evidence 403.


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                                        CONCLUSION

       For these reasons, the Court GRANTS the Government’s Motion In Limine [Doc. No.

264], and PRECLUDES the admission of Defendant’s proposed exhibit FFFF into evidence.


       IT IS SO ORDERED.


                             S/Sean F. Cox
                             Sean F. Cox
                             United States District Judge

Dated: March 8, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
March 8, 2010, by electronic and/or ordinary mail.

                             S/Jennifer Hernandez
                             Case Manager




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